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                            Exhibit 16
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                                       BYLAWS WORLD
                             PROSPECTS & PROSPECT CLUBS


1. Prospects are not allowed to be on official H.A club photos.
2. Prospects are not allowed to attend H.A. meetings.
3. Prospects are prospects for every full member and not only for the chapter or country they are
   prospecting for.
4. Prospects ride at the rear of the pack on runs.
5. Prospects must prospect for a minimum period of one year.
6. If a prospect is voted in while he is in jail, he receives his colours when he is released on home
   leave or at the end of his sentence.
7. All prospect-clubs must attend the World Meeting, the fine for missing a World Meeting is
   $2000, 00. The fine is appeal able and if the appeal is successful, the fine is cancelled.
8. All prospect clubs must have a stable postal address i.e. P.O. Box # or a clubhouse. Any
   change must be notified immediately.
9. Every prospect club must visit every country in Europe that has a H.A. chapter, before they can
   be voted in as full patch.
10. All prospects have to pay 100.00 Swiss francs per year to the European treasury, except if in
    jail or hospital for a long time.
11. Prospects are not to use anabolic steroids by injection.
12. Prospects have to pay a contribution to the costs of Euro-Runs, even if they do not attend.
13. Prospects are not allowed to send club photos or club patches by mail; they must be handed
    over personally.
14. All prospects must attend Euro/Worldruns, they are not admitted to the meeting itself but must
    be in attendance. The details of the location of the meeting will be given out by the local H.A.
    chapters, or in case of a new country, the Euro-Sec will inform them. 500.00$ fine is payable
    for non attendance.
15. Prospects must pay into all treasury and run-funds.
16. All European prospects must speak the English language before they can be voted in as full-
    member.
17. Prospects can only give presents with death heads on it, after they asked permission to their
    sponsoring H.A. club.
18. Prospects may not use the words hells angels prospect club on presents or cards.
19. When a hang-around club becomes prospect club they must wear a prospect front patch, a city
    or country front patch & country bottom rocker with MC patch.
20. Prospects are not to wear any shirts or any other items with the word Hells Angels or HAMC on
    them.
21. Prospects are not allowed to become drunk or stoned at parties, runs or meetings.
22. Prospects must attend the Euro/World Run on motorcycles in Europe.




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1. If a prospect is voted in while in jail he receives his colours when he is released on home leave
   or at the end of his sentence
2. If a member is in jail and is dishonourably discharged from the club it is at the charter
   discretion if the member concerned is thrown out while in jail or on release from jail
3. All charters must attend the world meeting. The fine for missing a world meeting is $2000 the
   fine is appeal able and if the appeal is successful the fine is cancelled
4. The vote at world meetings is one man one vote.
5. Charter representatives must be Present in order for there vote to be counted.
6. All charters must have a stable postal address i.e. P.O. Box # or a club house. Any change of
   postal address must be notified immediately.
7. Any fights between members will be strictly one onto one. No rings are to be worn. No
   weapons to be used. No kicking when a guy is down. This rule also applies to prospect on
   prospect and member on prospect. A 100.00 $fine if rule is broken.
8. There must be 100% in favour from the World Meeting for a hang around club from a new
   continent to become prospect club.
9. The vote for a prospect club to become full patch also must be 100% of charters
10. Member cards are given only to members.
11. By producing from H.A. posters and H.A. support stickers and support items is a registration
    print compulsory mandatory
12. When a motion is brought up at the World Run it has to be brought back to the clubs for voting.
    After that the vote must be send to the Europe- or East-West coast secretary or the country
    who organize the World Run <within 4 weeks>. Patent funds money U.S.A. must be paid
    before March every year.20$ for each member. If this is not paid by a H.A. chapter on time a
    fine will follow <double payment> In Europe the chapters send money to Herman <Kent>.
13. If a prospect-chapter in a new country becomes H.A. they have to send a fax to - guinea
    <Oakland> with the request for trademark. Guinea will send that chapter back a confirmation
    and an official paper <to be filled in> which must be send back to Guinea. After that the new
    H.A. can arrange the trademark in their own country.




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